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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )
                                             )      Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                       )
                                             )
               Defendant.                    )


               DEFENDANT PAUL J. MANAFORT, JR.’S
      SUPPLEMENT TO MOTION TO MODIFY CONDITIONS OF RELEASE

       Paul J. Manafort, Jr., by and through counsel, hereby provides supplemental

information in further support, of the fair market values of the properties offered to be

pledged as security for bond. The supplemental information includes: comparable sales

data for 123 Baxter Street, New York, N.Y. (New York City does not provide appraised

fair market value information for tax assessment); real estate tax assessment and

appraised fair market value for 601 North Fairfax Street, Alexandria, Va.; and real estate

tax assessment and appraised fair market value, and comparable sales data for 10 St.

James Drive, Palm Beach Gardens, Fl.

Dated: November 28, 2017                            Respectfully submitted,



                                                    ______________________________
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